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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                        CRIMINAL ACTION
                                            )
v.                                          )                        No. 10-20129-05-KHV
                                            )
ANDREW J. PRICE,                            )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

        This matter is before the Court on defendant’s Motion To Terminate Defendant’s Term

Of Supervised Release (Doc. #1123) filed February 14, 2022. The United States Probation

Office supports defendant’s motion, but the United States Attorney opposes it. For reasons stated

below, the Court sustains defendant’s motion.

        The Court may “terminate a term of supervised release and discharge the defendant

released at any time after the expiration of one year of supervised release . . . if it is satisfied that

such action is warranted by the conduct of the defendant released and the interest of justice.”

18 U.S.C. § 3583(e)(1). The Court has “broad discretion” to grant or deny termination of

supervised release. Rhodes v. Judiscak, 676 F.3d 931, 934 (10th Cir. 2012) (citing Burkey v.

Marberry, 556 F.3d 142, 144–45 (3d Cir. 2009)).

        The Court has considered the positions of the United States Attorney and the United States

Probation Office, as well as the factors set forth in 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C),

(a)(2)(D), (a)(4), (a)(5), (a)(6) and (a)(7). For substantially the reasons stated in defendant’s

Motion To Terminate Defendant’s Term Of Supervised Release (Doc. #1123) and in the

Memorandum And Order (Doc. #1064) filed December 24, 2020, the Court finds that defendant’s

term of supervised release should be terminated. In particular, defendant’s post-sentencing
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conduct and rehabilitation have been exemplary. In more than ten years in prison, he had no

disciplinary incidents.   In prison, he completed more than 2,000 hours of educational and

vocational programing.     He also maintained various jobs in prison and strengthened his

relationships with family members. After release, defendant established a personal residence and

maintained a job. He has done well on supervision, maintained contact with his supervising

officer and has no dirty UAs or other violations. It does not appear that continued supervision

would be helpful or necessary to ensure that defendant continues to adjust to his release after

prison. Based on defendant’s showing and the relevant factors under Section 3553(a), the Court

sustains defendant’s motion for early termination of supervised release.

       IT IS THEREFORE ORDERED that defendant’s Motion To Terminate Defendant’s

Term Of Supervised Release (Doc. #1123) filed February 14, 2022 is SUSTAINED. The Court

terminates the remaining term of defendant’s supervised release. Defendant is discharged.

       Dated this 14th day of March, 2022 at Kansas City, Kansas.

                                                           s/ Kathryn H. Vratil
                                                           KATHRYN H. VRATIL
                                                           United States District Judge




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